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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

KELVIN LEON JONES, et al.,

             Plaintiffs,
                                                      CONSOLIDATED
v.                                                    Case No. 4:19-cv-300-RH/MJF

RON DeSANTIS, et al.,

             Defendants.
                                                  /

     THE GOVERNOR & SECRETARY OF STATE’S NOTICE OF APPEAL

       Notice is hereby given that Governor Ron DeSantis and Secretary of State

Laurel M. Lee, defendants in the above-named case, appeal to the United States Court

of Appeals for the Eleventh Circuit from the final order and judgment entered in this

action on May 24, 2020 (ECF 420) and May 26, 2020 (ECF 421), and from all

previous rulings, opinions, and orders entered in this case. More specifically, the

Governor and Secretary file this Notice of Appeal only in Case No. 4:19-cv-300

because all “five cases [concerning challenges to Amendment 4 and SB7066] are

consolidated for all purposes,” and this Court has directed that “[a]ll filing must be

made in the consolidated electronic case file, No. 419cv300.” ECF 420 at 118, ¶ 1.1


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  This Court in an earlier order had consolidated the five cases for “case management
purposes only,” ECF 93 at 3, ¶ 1, and said that “[a] paper—other than a complaint
(or counterclaim, cross-claim, or third-party complaint), answer, motion to
intervene, judgment, notice of appeal, or amended version of any of them—that is
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      Respectfully submitted by:

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filed in the common docket will be deemed filed in every case.” Id. at 4, ¶ 2. The
Governor and Secretary read this Court’s subsequent final order as amending the
earlier order and thus file their notice of appeal only in Case No. 4:19-cv-300.
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                         CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that a true and correct copy of the foregoing was served

to all counsel of record via email on May, 29 2020.

                                                      /s/ Mohammad O. Jazil
                                                      Attorney
